                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
                       Plaintiff,                  )
                                                   )
 v.                                                )            No. 3:07-CR-51
                                                   )            (VARLAN/SHIRLEY)
 JOHNNIE MARTIN,                                   )
                                                   )
                       Defendants.                 )


                                MEMORANDUM AND ORDER

                This case is before the Court on Defendant Martin’s Motion for Permission to File

 This Late Filed Motion and Motion to Compel the Government to Provide Additional Discovery

 [Doc. 389], filed on October 1, 2008. All pretrial motions relating to the remaining counts against

 Johnnie Martin have been referred [Doc. 390] to the undersigned. See 28 U.S.C. § 636(b). In the

 motion, defense counsel asks to file his discovery motion two days beyond the September 29, 2008

 motion-filing deadline, citing unanticipated reasons beyond his control for the failure to file the

 motion on time. The Court has reviewed the reasons listed in counsel’s affidavit and find that they

 constitute good cause for the requested late-filing. Accordingly, the Defendant’s Motion for

 Permission to File This Late Filed Motion and Motion to Compel the Government to Provide

 Additional Discovery [Doc. 389] is GRANTED in part in that the Defendant is permitted to file

 the included discovery motion late. The government shall have until October 16, 2008, to file its

 response. The Court will hold a hearing on the merits of the discovery motion [Doc. 389] as

 scheduled on October 29, 2008, at 2:00 p.m. Also at that hearing, the Court will receive production




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 of records pursuant to defense subpoenas and will determine whether the parties can be ready to

 proceed on the January 12, 2009, trial date or if the March 3, 2009 trial date will be necessary.1

                IT IS SO ORDERED.

                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




        1
         The Court notes that the trial of the severed Defendants Aaron Brooks and LaShonda
 Hall remains set for November 17, 2008.

                                                  2


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